Case 2:92-cr-20106-SH|\/| Document 76 Filed 08/01/05 Page 1 of 2 Page|D 14

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IN THE UNITED sTATEs DISTRICT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE 05 AUG~I M‘HU: 3|
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THOMAS_M_GM.D
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UN:TED STATES oF AMERICA, W:D G-"F 1»€§.*:€?44%3
vs. No. 92-20106-Ma

KEVIN WILHITE,

Defendant.

 

ORDER RESET'I‘ING HEARING ON SUPERVISED RELEASE VIOLATION

 

Before the court is the July 28, 2005, motion to reset the
hearing on defendant Kevin Wilhite’s supervised release violation
which is presently set on August 4, 2005. For good cause shown,
the motion is granted. The hearing on supervised release
violation of defendant Kevin Wilhite is RESET to Wednesday,
September 7, 2005, at 9:00 a.m.

It is so ORDERED this 2q`¢\day of July, 2005.

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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 76 in
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Honorable Samuel Mays
US DISTRICT COURT

